  Case 20-00406      Doc 14   Filed 01/08/21 Entered 01/08/21 14:15:14                  Desc Main
                                 Document Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                      )   BK No.:      18-35295
VITAHEAT MEDICAL, LLC,                                      )
                                                            )   Chapter: 7
                                                            )
                                                                Honorable A. Benjamin Goldgar
                                                            )
                                                            )
                           Debtor(s)                        )
ILENE F. GOLDSTEIN, NOT INDIVIDUALLY BUT                    )   Adv. No.: 20-00406
AS CHAPTER 7 TRUSTEE OF THE VITAHEAT                        )
                                                            )
                        Plaintiff(s)
WILLIAM HAAS AND THINHEAT LLC,                              )
                                                            )
                                                            )
                                    Defendant(s)            )
                         ORDER GRANTING TRUSTEE'S MOTION
                                     FOR LEAVE TO FILE
                               FIRST AMENDED COMPLAINT
      This matter coming before the court on the TRUSTEE'S MOTION FOR LEAVE TO FILE
FIRST AMENDED COMPLAINT, due notice having been given, and the court being fully advised, IT
IS HEREBY ORDERED:

   The motion is granted. The trustee has leave to file her first amended complaint on or before January
15, 2021. Defendants must answer or otherwise plead on or before February 5, 2021. This matter is
set for a status hearing on February 19, 2021, at 11:5 a.m.




                                                          Enter:


                                                                    Honorable A. Benjamin Goldgar

Dated: January 08, 2021                                             United States Bankruptcy Judge

 Prepared by:
 William J. Factor (6205675)
 FACTORLAW
 105 W. Madison Street, Suite 1500
 Chicago, IL 60602
 Firm ID: 45665
 Tel: (312) 878-6976
 Fax: (847) 574-8233
 Email: wfactor@wfactorlaw.com
